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August 19, 2024

VIA CM/ECF

The Honorable Kate M. Menendez
United States District Court Judge
U.S. District Court
300 South Fourth Street
Minneapolis, MN 55415

Re:        United States v. Evergreen Recovery Inc., et al.
           Case No. 24-cv-2944 (KMM/JFD)

Dear Judge Menendez:

Pursuant to Paragraph D of the Order for Entry of Preliminary Injunction, Order Appointing
Receiver, and Other Equitable Relief (Doc. 44) in the above-referenced case, Receiver Ranelle
Leier hereby attests that she will comply with the terms of the Order and will well and truly
perform the duties of the office of Receiver and will perform such lawful acts as the Court directs.

Sincerely,

/s/ Ranelle Leier

Ranelle Leier

RL:dkm
cc:   All Counsel of Record (via CM/ECF)
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